12

13

14

15

16

17

13

19

20

21

22

23

24

25

26

27

28

(

 

Ken Hughes

12932 La Maida St
Sherman Oaks, CA 91423
818-667-5591
ken@digitalwelders.com

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

KATIE CAZORLA, AN INDIVIDUAL; WALTER Case No.: CV 14-021 lZ-MMM(CWX)
AFANASlEFF, AN INDIVIDUAL; THE PAIN'I`ED

NAIL LLC, A CALlFORNIA LIMITED LlABILlTY
COMPANY; KATIE CAZORLADESIGNS, LLC, A

CALlFORNIA LlMITED LIABILITY COMPANY
SUPPLEMENTRAY DECLARATION

Plaintift's, ORDER TO SHOW CAUSE RE PRELIMINARY
INJ UCTlON
\"'S.

KEN HUGHES, AN INDIVIDUAL; AND DlGlTAL
WELDERS, AN ENTITY OF UNKNOWN FORM

Defendant

 

 

The defendant apologizes to the court for his gibberish as the plaintiff s lawyer calls it. He
doesn’t have the funds to hire a professional but he takes pride in the fact that in his 20+ years as a professional le
Web Deve]oper he have never been involved in a lawsuit Unfortllnately this leaves the defendant inexperienced, so
he asks the court to be patient as he tries to stick to only the facts and supporting documents. Please note
digitalwelders was registered as a LLC on August 26"‘£ 2013. The defendant Ken Hughes was paid $10,000.00 from
Wally World Productions f US Trust Corp for website and $3000.00 per month from September 2013 to February
2014.

Initially the only supporting documents that the plaintiffs supplied were The Painted Nail
“Trademark”, which the defendant does not dispute Which is why he transferred of domain names and complete
control including any and all files associated with The Painted Nail f Katie Cazorla within 8 business days by his
own accord. It’s important to remember that once control is handed over, the plaintiffs have full control to
download all files associated with respective sites, as they existed.

The reason this defendant is adding this supplemental declaration is because he believes the
plaintiffs has perjured themselves with their sworn statements They are trying to convince the court that Katie

Cazorla actually paid for web maintenancel

SUPPLEME.NTRAY DECLARATIONORDER TO SHOW CAUSE RE PRELIMINARY lNJUCTION - 1

 

 

SaSe 2:14-CV-02112-I\/|I\/|I\/|-CW Document 22 Filed 04/04/14 Page 1 of 6 Page |D #:211

12

13

14

15

16

18

19

20

21

22

23

24

25

26

2';'

28

 

(

SaSe 2:14-CV-O2112-|\/||\/||\/|-CW Document 22 Filed 04/04/14 Page 2 of 6 Page |D #:

 

ln plaintiff Walter Afanasieft` sworn statement he claims he paid 510,000.00 in August and
subsequent monthly payments for maintenance from Sep 13 - through to February 14. He was having financial
problems and borrowed money in .lan from Cazorla to pay an invoice that he owed for maintenance.

ln plaintiff Katie Cazorla’s sworn statement she states she gave a check to the defendant She
neglects to say it was on Afanasieff’s behalf for his January maintenance invoice. Please refer to plaintiffs
document 15-2 filed 03!31:' 14 invoiced date January 20“‘!20 14. This check was voided notice the note Afanasieff
put on check copy backup “Katie paid Ken, so we owe Katie". The defendant also has a text message from
Afanasieff because Cazorla’s check bounced and he said “ I arn so sorry, she was helping me out this mont

The defendants are trying to mislead the court by stating Cazorla paid for maintenance. It’s very
clear she lent the money to Afanasieff and tried to use this to mislead the courts.

Please note the errata submitted April 3"')' 2014 they correct the check date yet still choose to
knowingly mislead the court of the nature the check was given.

The following is addressing the additional false claims that any of the cancelled checks paid for
domains or maintenance Walter Afanasieff document 15-2 page 5 (page lD #154) check 499 dated April 26)' 2013
for $150.00; this was actually for Katie Cazorla business cards. Document 15~2 page 6 (pageID #155) check dated
October 5!2013 for $500.00 was reimbursement for Netgear hardware the defendant installed for the plaintiffs
residential network.

Katie Cazoria 15-1 page ll (pagelD # 147) check dated July 26“‘! 2013 was for reimbursement of
shipping/shipping supplies that the defendant paid for while filling and shipping Cazorla’s online orders.

Document 15-1 page 12 [page lD #148) check dated January 21)'2014 (#190) is the check used to
pay for Walter Afanasieff maintenance, which he borrowed, from her. Document 15~1 page 13 (page lD #149)
dated November ls‘! 2013 for $316.85 was also for shipping/shipping supplies

The plaintiffs also lie about a backlash from the defendant‘s social media, untrue and no proof
wliatsoever. There was never any bad faith on part of the defendant from the time he registered all domains up to
and including the time he transferred domains.

Defendant transferred Afanasieff‘ s domain in 5 business days after officially being asked and
Cazorla’s 3 business days later. l will submit proof that the domain’s were accepted and confirmed transfer

completed by Godaddy, this proving that again that the plaintiffs lied in their sworn statement Please note that once
SUPPLEMENTRAY DECLARATIONORDER TO SHOW CAUSE RE PRELIMINARY INJUCTION ~ 2

 

212

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

22

28

 

domain is transferred and confirmed by personfperson’s receiving the transfer request they have full control over all
aspects of domain including web site files. Please refer to exhibit A, showing transfer confirmed and accepted at
7:00pm on March 20th !'2014.

The initial transfer for Afanasieff` was sent to the plaintiffs email dud“ey$_$_@nie_.com based upon
the success of other domain acceptance by plaintiffs, this is why the same email address to transfer domains for
Cazorla was used.

It’s not the defendant's fault that Cazcrla submitted all 5 domains to Godaddy, the plaintiffs
already had in their possession the following domains; walterafanasieff.com, thepaintednail.corn (.net, .org),
katiecazorla.com on March 20"‘¢' 2014 @ 7:00pm. On March 25*')' 2014 iives days after the plaintiffs already had
confirmation and possession of domains and all content they still submitted all five domains to GoDaddy causing a
freeze & lock of all domains.

The plaintiffs have accused the defendant of registering names without permission, Hughes
previously submitted proof that they indeed knew and directed him to do so, Again Cazorla continues to lie in court
documents claiming she had no knowledge of why defendant would take down the Painted Nail site and complete a
redirect to the Katie Cazorla site. l provided proof previously that she knew and directed me to do so, proving she is
lying to the court.

Now the plaintiffs are accusing Hughes of somehow reading emails so he could collect special
knowledge of all of their lawsuits. This just gets more ridiculous and is obviously a desperate attempt to continue to
manipulate the courts.

Every document that defendant has submitted is public knowledge and his own correspondence
with plaintiffs via emails & texts. This is an obvious attempt by plaintiffs to use the courts to obtain the three
domains thenailcollective.com, everythingnaiiz.com & hisocietea.com.

The fact is from the moment the defendant registered the plaintiffs domain names as instructed by
them over a year ago, there is absolutely no evidence of bad faith or harm to the plaintiffs businesses Another fact
is that defendant transferred domain names which includes access to content within 8 business days of being

officially asked which is a reasonable time frame. Please note defendant acted before any knowledge of lawsuit.

SUPPLEMENTRAY DECLARATIONORDER TO SHOW CAUSE RE PRELIMINARY INJUCTION - 3

 

 

ZaSe 2:14-CV-O2112-|\/||\/||\/|-CW Document 22 Filed 04/04/14 Page 3 of 6 Page |D #:213

10

ll

12

13

14

15

16

19

20

21

22

23

24

25

26

22

28

Case 2:14-CV-O2112-|\/||\/||\/|-CW Document 22 Filed 04/04/14 Page 4 of 6 Page |D #:

Lastly the fact is that the 3 domains (thenailcollective.com, hisocietea.com &
everythingnailz.corn) were non-existent businesses at the time of register. The defendant doesn’t object to the
transfer of walterafanasieff.com, katiecazorla.com & thepaintednail.com (.org, net) in fact he took it upon himself to
transfer prior to any knowledge of lawsuit. The defendant however does disagree with the court’s decision to allow
the following domains to be transferred everythingnailz.com, thenailcollective.com & hisocietea.com. lt‘s the
opinion of the defendant that the plaintiffs are manipulating the court to obtain these three domains in question. I

ask that the court reverse their decision.

Dated this 3rd oprril 2014.

 

 

Wame

SUPPLEMENTRAY DECLARATIONORDER TO SHOW CAUSE RE PRELIMINARY INJUCTION - 4

 

 

214

 

Case 2:14-CV-O2112-|\/||\/||\/|-CW Document 22 Filed 04/04/14 Page 5 of 6 Page |D #:215

EXHIBIT A

Case 2:14-CV-O2112-|\/||\/||\/|-CW Document 22 Filed 04/04/14 Page 6 of 6 Page |D #:216

From: GoDaddy donotrep|y@godaddy.com
Sub]ect: Domain Account Change - registrant change
Daie: March 20, 2014 al 7:00 PM
To: ken@dtgltalwe|ders.com

2417 Support: i480i 505-8877

An important notice regarding

    

your domain

This small is to confirm the recent change of registrant of the following domain name(s):

KAT|ECAZORLA.COM

THEPA|NTEDNA]L.COM
THEPA|NTEDNAIL.NET
THEPA|NTEDNA|L.OHG

The change has been completed and the available information has been recorded in our
system.

QgDaddy has determined that the registrant has provided the necessary documentation to
initiate a change of account |f for any reason this information is incorrect or you feel this
change of registrant request was made in error, please contact us within 15 days at
undochange@godaddy.com.

Sincere|y,

Gngddy

Find your perfect domain name Search now at GoDaddy

Please do not reply to this emai|. Emails sent to this address will not be ai'isi.r.ieretll

Copyright © 1999-2014 GoDaddy.oom, LLC. Ai| rights reserved

